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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

EXITEXCHANGE CORP.                              §
                                                §
                                                §
                      Plaintiff,                §
                                                §    Case No. 2:13-cv-00396-JRG
v.                                              §
                                                §    CONSOLIDATED CASE
FRIENDFINDER NETWORKS, INC., et                 §
al.
                                                §
                      Defendant.                §

                      DEFENDANTS’ NOTICE OF COMPLIANCE

        Pursuant to the Docket Control Order entered in the above consolidated action on

November 16, 2013 (Dkt No. 55), Defendants FriendFinder Networks, Inc., Manwin USA, Inc.,

Manwin D.P. Corp., WZ Communications Inc., Lemuria Communications, Inc., Travelocity.com

LP, KAYAK Software Corporation, and TripAdvisor LLC (collectively, “Defendants”) hereby

notify the Court and all counsel herein that they served Defendants’ Preliminary Proposed

Constructions and Identification of Extrinsic Evidence under P.R. 4-2, along with the document

production required by P.R. 4-2(b), on counsel for Plaintiff by electronic mail on March 12,

2014.




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                              Submitted and Served on Behalf of Defendants by,

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                                    CERTIFICATE OF SERVICE


       I hereby certify that on March 12, 2014, I electronically submitted the foregoing
document with the clerk of court for the U.S. District Court, Eastern District of Texas, using the
electronic case files system of the court. The electronic case files system sent a “Notice of
Electronic Filing” to individuals who have consented in writing to accept this Notice as service
of this document by electronic means, all other counsel of record not deemed to have consented
to electronic service were served with a true and correct copy of the foregoing by first class mail
today, March 12, 2014.
                                                 /s/ Matthew C. Acosta.
                                                 Matthew C. Acosta




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